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 1
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 5

 6   ATTORNEY FOR Defendant,
     EDUARDO ZAZUETA GARCIA
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10
                                                  ******
11   UNITED STATES OF AMERICA,                          Case No.: 1:12-CR-00344-LJO
12
                    Plaintiff,                          STIPULATION AND ORDER TO
13                                                      CONTINUE SENTENCING
            v.
14                                                      Date: March 2, 2015
     EDUARDO ZAZUETA GARCIA,
15                                                      Time: 8:30 a.m.
                    Defendant.                          Courtroom: 4
16                                                      Hon. Lawrence J. O’Neill

17          Defendant, EDUARDO ZAZUETA GARCIA, by and through his attorney of record,

18   Anthony P. Capozzi and the United States Attorneys by and through Kevin P. Rooney and

19   Mark Cullers, hereby stipulate as follows:

20          1. By previous order, this matter was set for sentencing on March 2, 2015, at 8:30 a.m.

21          2. The parties agree and stipulate that Defendant requests this court to continue the

22   sentencing until March 30, 2015, at 8:30 a.m.

23          3. Additionally, the parties agree and stipulate, and request that the Court find the

24   following:

25                  a. The Defendant pled guilty on December 1, 2014. Ongoing negotiations have

26          been taking place between the Government and the Defendant. Additional information

27          is needed prior to sentencing which may be completed by March 30, 2015.

28                  b. Defense counsel is unexpectedly going to be out of town on Monday March
                                                     1
                         STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                       CASE NO.: 1:12-CR-00344-LJO
     Case 1:12-cr-00344-JLT-SKO Document 137 Filed 02/26/15 Page 2 of 2
 1                 2, 2015.

 2                   c. The parties request that Informal Objections be filed on March 9, 2015, and

 3          Formal Objections be filed on March 23, 2015.

 4                   d. The Government does not object to this continuance.

 5   IT IS SO STIPULATED.

 6                                             Respectfully submitted,

 7   DATED:        February 26, 2015     By: /s/ Mark Cullers
                                             MARK CULLERS
 8                                           United States Attorney
 9

10

11   DATED:        February 26, 2015     By: /s/Anthony P. Capozzi
                                             ANTHONY P. CAPOZZI
12                                           Attorney for Defendant EDUARDO ZAZUETA
                                             GARCIA
13

14

15
                                                 ORDER
16
            For reasons set forth above, the continuance requested by the parties is granted for
17
     good cause.
18
            The sentencing currently scheduled for March 2, 2015, at 8:30 a.m. is continued to
19
     March 30, 2015, at 8:30 a.m. and the Informal Objections be filed on March 9, 2015, and
20
     Formal Objections be filed on March 23, 2015.
21
     IT IS SO ORDERED.
22

23
        Dated:      February 26, 2015                       /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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                          STIPULATION AND [PROPOSED] ORDER TO CONTINUE SENTENCING
                                        CASE NO.: 1:12-CR-00344-LJO
